     8:16-cv-01957-DCC         Date Filed 05/24/18      Entry Number 79      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  ANDERSON DIVISION

 John Doe,                                  )
                                            )
                 Plaintiff,                 )            CA: 8:16-CV-01957-DCC
                                            )
                    v.                      )
                                            )
 Clemson University, Clemson                )
 University Board of Trustees, James        )
 P. Clements, individually and as agent     )
 for Clemson University, Almeda             )
 Jacks, individually and as agent of        )
 Clemson University, Alesia Smith,          )       MOTION TO ENFORCE SETTLEMENT
                                            )                AGREEMENT
 individually and as agent of Clemson
                                            )
 University, Suzanne Price,                 )
 individually and as agent of Clemson       )
 University, Loreto Jackson,                )
 individually and as agent of Clemson       )
 University, David Frock, individually      )
                                            )
 and as agent of Clemson University,
                                            )
               Defendants.                  )
                                            )
                                            )


       COMES NOW Clemson University, Clemson University Board of Trustees, James P.

Clements, individually and as agent for Clemson University, Almeda Jacks, individually and as

agent of Clemson University, Alesia Smith, individually and as agent of Clemson University,

Suzanne Price, individually and as agent of Clemson University, Loreto Jackson, individually and

as agent of Clemson University, David Frock, individually and as agent of Clemson University

(hereinafter collectively “Clemson Defendants”), by and through undersigned counsel, and moves

this Court for an Order enforcing the Settlement Agreement between John Doe and Clemson

Defendants.




                                                1
      8:16-cv-01957-DCC        Date Filed 05/24/18     Entry Number 79        Page 2 of 2




        In support of their Motion, Clemson Defendants seek permission from the Court to submit

an accompanying Memorandum of Law with exhibits under seal.

       Pursuant to Local Civil Rule 7.02 DSC, the undersigned counsel hereby certifies that prior

to filing this Motion, he conferred with opposing counsel and attempted in good faith to resolve

the matters contained in the Motion.

                                            Respectfully submitted,

                                            WILLSON JONES CARTER & BAXLEY, P.A.


                                            s/Charles F. Turner, Jr.
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                                            ATTORNEYS FOR DEFENDANTS
Greenville, South Carolina
May 24, 2018




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